      Case 1:21-cr-00287-TNM Document 145 Filed 02/22/23 Page 1 of 26


                                                                    APPEAL,CAP,CAT B,CLOSED
                             U.S. District Court
                  District of Columbia (Washington, DC)
           CRIMINAL DOCKET FOR CASE #: 1:21−cr−00287−TNM−1

Case title: USA v. SEEFRIED et al

Magistrate judge case number: 1:21−mj−00046−RMM

Date Filed: 04/07/2021

Assigned to: Judge Trevor N.
McFadden

Defendant (1)
KEVIN SEEFRIED                      represented by Carlos J. Vanegas
                                                   FEDERAL PUBLIC DEFENDER FOR THE
                                                   DISTRICT OF COLUMBIA
                                                   625 Indiana Ave, NW
                                                   Suite 500
                                                   Washington, DC 20004
                                                   (202) 208−7500
                                                   Fax: (202) 208−7515
                                                   Email: carlos_vanegas@fd.org
                                                   TERMINATED: 01/05/2022
                                                   LEAD ATTORNEY
                                                   Designation: Public Defender or Community
                                                   Defender Appointment

                                                  Eugene Jeen−Young Kim Ohm
                                                  FEDERAL PUBLIC DEFENDER FOR THE
                                                  DISTRICT OF COLUMBIA
                                                  625 Indiana Avenue, NW
                                                  Suite 550
                                                  Washington, DC 20004
                                                  (202) 208−7500
                                                  Fax: (202) 208−7515
                                                  Email: eugene_ohm@fd.org
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED
                                                  Designation: Public Defender or Community
                                                  Defender Appointment

                                                  Elizabeth Ann Mullin
                                                  FEDERAL PUBLIC DEFENDER FOR THE
                                                  DISTRICT OF COLUMBIA
                                                  625 Indiana Ave,NW
                                                  Suite 500
                                                  Washington, DC 20004

                                                                                               1
      Case 1:21-cr-00287-TNM Document 145 Filed 02/22/23 Page 2 of 26


                                          (202) 208−7500
                                          Fax: (202) 208−7515
                                          Email: elizabeth_mullin@fd.org
                                          ATTORNEY TO BE NOTICED
                                          Designation: Public Defender or Community
                                          Defender Appointment

Pending Counts                            Disposition
18 U.S.C. 1512(c)(2) and 2;
TAMPERING WITH A
WITNESS, VICTIM OR
INFORMANT; Obstruction of an
Official Proceeding and Aiding
and Abetting
(1)
18 U.S.C. 1512(c)(2) and 2;               Defendant sentenced to a term of Thirty−Six (36)
TAMPERING WITH A                          Months of Incarceration, to run concurrently with
WITNESS, VICTIM OR                        Counts 2s, 3s, 4s, 5s, followed by a term of Twelve
INFORMANT; Obstruction of an              (12) Months of Supervised Release, to run
Official Proceeding and Aiding            concurrently with Counts 2s, 3s. $100 Special
and Abetting                              Assessment imposed. Restitution in the amount of
(1s)                                      $2,000.00. VERDICT OF GUILTY RENDERED
18 U.S.C. 1752(a)(1);
TEMPORARY RESIDENCE OF
THE PRESIDENT; Entering and
Remaining in a Restricted
Building or Grounds
(2)
                                          Defendant sentenced to a term of Twelve (12)
18 U.S.C. 1752(a)(1);
                                          Months of Incarceration, to run concurrently with
TEMPORARY RESIDENCE OF
                                          Counts 1s, 3s, 4s, 5s, followed by a term of Twelve
THE PRESIDENT; Entering and
                                          (12) Months of Supervised Release, to run
Remaining in a Restricted
                                          concurrently with Counts 1s, 3s. $25 Special
Building or Grounds
                                          Assessment imposed. Restitution in the amount of
(2s)
                                          $2,000.00. VERDICT OF GUILTY RENDERED
18 U.S.C. 1752(a)(2);
TEMPORARY RESIDENCE OF
THE PRESIDENT; Disorderly
and Disruptive Conduct in a
Restricted Building or Grounds
(3)
                                          Defendant sentenced to a term of Twelve (12)
18 U.S.C. 1752(a)(2);
                                          Months of Incarceration, to run concurrently with
TEMPORARY RESIDENCE OF
                                          Counts 1s, 2s, 4s, 5s, followed by a term of Twelve
THE PRESIDENT; Disorderly
                                          (12) Months of Supervised Release, to run
and Disruptive Conduct in a
                                          concurrently with Counts 1s, 2s. $25 Special
Restricted Building or Grounds
                                          Assessment imposed. Restitution in the amount of
(3s)
                                          $2,000.00. VERDICT OF GUILTY RENDERED


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       Case 1:21-cr-00287-TNM Document 145 Filed 02/22/23 Page 3 of 26


40 U.S.C. 5104(e)(2)(D);
VIOLENT ENTRY AND
DISORDERLY CONDUCT ON
CAPITOL GROUNDS;
Disorderly Conduct in a Capitol
Building
(4)
40 U.S.C. 5104(e)(2)(D);
VIOLENT ENTRY AND                          Defendant sentenced to a term of Six (6) Months of
DISORDERLY CONDUCT ON                      Incarceration, to run concurrently with Counts 1s,
CAPITOL GROUNDS;                           2s, 3s, 5s. $10 Special Assessment imposed.
Disorderly Conduct in a Capitol            Restitution in the amount of $2,000.00. VERDICT
Building                                   OF GUILTY RENDERED
(4s)
40 U.S.C. 5104(e)(2)(G);
VIOLENT ENTRY AND
DISORDERLY CONDUCT ON
CAPITOL GROUNDS; Parading,
Demonstrating, or Picketing in a
Capitol Building
(5)
40 U.S.C. 5104(e)(2)(G);
VIOLENT ENTRY AND                          Defendant sentenced to a term of Six (6) Months of
DISORDERLY CONDUCT ON                      Incarceration, to run concurrently with Counts 1s,
CAPITOL GROUNDS; Parading,                 2s, 3s, 4s. $10 Special Assessment imposed.
Demonstrating, or Picketing in a           Restitution in the amount of $2,000.00. VERDICT
Capitol Building                           OF GUILTY RENDERED
(5s)

Highest Offense Level (Opening)
Felony

Terminated Counts                          Disposition
None

Highest Offense Level
(Terminated)
None

Complaints                                 Disposition
COMPLAINT in VIOLATION of
18 U.S.C. 1752 (a); 40 U.S.C.
5104(e)



Plaintiff


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      Case 1:21-cr-00287-TNM Document 145 Filed 02/22/23 Page 4 of 26


USA                                           represented by Benet Kearney
                                                             DOJ−USAO
                                                             One Saint Andrew's Plaza
                                                             New York, NY 10007
                                                             212−637−2260
                                                             Fax: 212−637−2243
                                                             Email: benet.kearney@usdoj.gov
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED
                                                             Designation: Assistant U.S. Attorney

                                                              Brittany LaShaune Reed
                                                              U.S. ATTORNEY'S OFFICE
                                                              650 Poydras Street
                                                              Suite 1600
                                                              New Orleans, LA 70130
                                                              504−680−3031
                                                              Email: brittany.reed2@usdoj.gov
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED
                                                              Designation: Assistant U.S. Attorney

Date Filed   #    Docket Text
01/13/2021    1   COMPLAINT as to KEVIN SEEFRIED (1), HUNTER SEEFRIED (2).
                  (Attachments: # 1 Statement of Facts) (zltp) [1:21−mj−00046−RMM] (Entered:
                  01/13/2021)
01/14/2021    3   MOTION to Unseal Case by USA as to KEVIN SEEFRIED, HUNTER SEEFRIED.
                  (Attachments: # 1 Text of Proposed Order)(zltp) [1:21−mj−00046−RMM] (Entered:
                  01/14/2021)
01/14/2021    4   ORDER Granting 3 MOTION to Unseal Case by USA as to KEVIN SEEFRIED (1),
                  HUNTER SEEFRIED (2). Signed by Magistrate Judge G. Michael Harvey on
                  1/14/2021. (zpt) [1:21−mj−00046−RMM] (Entered: 01/14/2021)
01/14/2021        Case unsealed as to KEVIN SEEFRIED, HUNTER SEEFRIED (zltp)
                  [1:21−mj−00046−RMM] (Entered: 01/14/2021)
01/14/2021        Arrest of KEVIN SEEFRIED (1) in District of Delaware. (zpt)
                  [1:21−mj−00046−RMM] (Entered: 02/17/2021)
01/14/2021        Arrest of KEVIN SEEFRIED, HUNTER SEEFRIED in US District Court for the
                  District of Delaware. (bb) (Entered: 05/03/2021)
01/15/2021   22   Rule 5(c)(3) Documents Received as to KEVIN SEEFRIED, HUNTER SEEFRIED
                  from US District Court for the District of Delaware Case Number 21−08− M (bb)
                  (Entered: 05/03/2021)
01/25/2021   10   Arrest Warrant, dated 1/13/2021, Returned Executed in the U.S. District Court for the
                  District of Columbia, on 1/25/2021 as to KEVIN SEEFRIED (1). (zpt)
                  [1:21−mj−00046−RMM] (Entered: 02/17/2021)
01/25/2021        ORAL MOTION to Appoint Counsel by KEVIN SEEFRIED (1) and HUNTER
                  SEEFRIED (2). (zpt) [1:21−mj−00046−RMM] (Entered: 02/17/2021)

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    Case 1:21-cr-00287-TNM Document 145 Filed 02/22/23 Page 5 of 26



01/25/2021        JOINT ORAL MOTION for Speedy Trial Waiver by KEVIN SEEFRIED (1) and
                  HUNTER SEEFRIED (2). (zpt) [1:21−mj−00046−RMM] (Entered: 02/17/2021)
01/25/2021        Minute Entry for proceedings held before Magistrate Judge G. Michael Harvey: VTC
                  Initial Appearance/Detention Hearing as to KEVIN SEEFRIED (1) and HUNTER
                  SEEFRIED (2) held on 1/25/2021. Oral Motion to Appoint Counsel by KEVIN
                  SEEFRIED (1) and HUNTER SEEFRIED (2) Heard and Granted. Government does
                  not seek the Defendants' pretrial detention. Defendants express intent to waive right to
                  a preliminary hearing. Joint Oral Motion for Speedy Trial Waiver as to KEVIN
                  SEEFRIED (1) and HUNTER SEEFRIED (2) Heard and Granted. Time between
                  1/25/2021 and 3/22/2021 (56 Days) shall be excluded from calculation under the
                  Speedy Trial Act in the interest of justice X−T. Status Hearing set for 3/22/2021 at
                  01:00 PM in Telephonic/VTC before Magistrate Judge Zia M. Faruqui. Bond Status
                  of Defendant: Defendants Placed on Personal Recognizance; FTR Time Frame:
                  CTRM 5 [2:02:18−2:17:22]; Defense Attorney: Carlos Vanegas (1), Edson Bostic (2);
                  US Attorney: Kelly Smith for Elizabeth Aloi; Pretrial Officer: Andre Sidbury; (zpt)
                  Modified text on 2/17/2021 (zpt). [1:21−mj−00046−RMM] (Entered: 02/17/2021)
01/27/2021    8   NOTICE OF ATTORNEY APPEARANCE: Carlos J. Vanegas appearing for KEVIN
                  SEEFRIED (Vanegas, Carlos) [1:21−mj−00046−RMM] (Entered: 01/27/2021)
01/27/2021        MINUTE ORDER as to KEVIN SEEFRIED (1) and HUNTER SEEFRIED (2). As
                  required by Rule 5(f), the United States is ordered to produce all exculpatory evidence
                  to the defendant pursuant to Brady v. Maryland and its progeny. Not doing so in a
                  timely manner may result in sanctions, including exclusion of evidence, adverse jury
                  instructions, dismissal of charges and contempt proceedings. Signed by Magistrate
                  Judge G. Michael Harvey on 1/27/2021. (zpt) [1:21−mj−00046−RMM] (Entered:
                  02/17/2021)
02/22/2021   12   NOTICE OF ATTORNEY APPEARANCE Brittany LaShaune Reed appearing for
                  USA. (Reed, Brittany) [1:21−mj−00046−RMM] (Entered: 02/22/2021)
03/17/2021   14   MOTION to Exclude Time Under The Speedy Trial Act by USA as to KEVIN
                  SEEFRIED, HUNTER SEEFRIED. (Attachments: # 1 Text of Proposed Order)(Reed,
                  Brittany) [1:21−mj−00046−RMM] (Entered: 03/17/2021)
03/17/2021   18   UNOPPOSED MOTION to Continue by USA as to KEVIN SEEFRIED. (See docket
                  entry 14 to view document) (zstd) [1:21−mj−00046−RMM] (Entered: 03/23/2021)
03/22/2021   16   ORDER granting 14 Motion to Continue Status Hearing and Exclude Time as to
                  KEVIN SEEFRIED (1), HUNTER SEEFRIED (2). Status Hearing continued to
                  5/24/2021 at 1:00 PM by Telephonic/VTC before Magistrate Judge Robin M.
                  Meriweather.Signed by Magistrate Judge Zia M. Faruqui on 3/22/2021. (ztl)
                  [1:21−mj−00046−RMM] (Entered: 03/22/2021)
04/07/2021   20   INDICTMENT as to KEVIN SEEFRIED (1) count(s) 1, 2, 3, 4, 5, HUNTER
                  SEEFRIED (2) count(s) 1, 2, 3, 4, 5, 6, 7, 8. (zltp) (Entered: 04/08/2021)
04/21/2021        NOTICE OF HEARING as to KEVIN SEEFRIED (1) and HUNTER SEEFRIED (2).
                  The parties shall take notice that a VTC Arraignment/Status Conference is set for
                  5/4/2021 at 10:00 AM before Judge Trevor N. McFadden. Connection instructions
                  will be sent to the parties. (hmc) (Entered: 04/21/2021)
05/03/2021   23   Unopposed MOTION to Travel to North Carolina by KEVIN SEEFRIED.
                  (Attachments: # 1 Text of Proposed Order)(Vanegas, Carlos) (Entered: 05/03/2021)


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    Case 1:21-cr-00287-TNM Document 145 Filed 02/22/23 Page 6 of 26



05/04/2021        Minute Entry for proceedings held before Judge Trevor N. McFadden: Arraignment
                  and Status Conference as to KEVIN SEEFRIED (1) and HUNTER SEEFRIED (2)
                  held via videoconference on 5/4/2021. Defendants consented to appear via video.
                  Defendant KEVIN SEEFRIED (1) arraigned on Counts 1, 2, 3, 4, 5. Defendant
                  entered a plea of Not Guilty as to all counts. Defendant HUNTER SEEFRIED (2)
                  arraigned on Counts 1, 2, 3, 4, 5, 6, 7, 8. Defendant entered a plea of Not Guilty as to
                  all counts. Defendant KEVIN SEEFRIED'S (1) 23 Unopposed Motion to Travel to
                  North Carolina, GRANTED. A further VTC Status Conference is set for 7/2/2021 at
                  2:00 PM before Judge Trevor N. McFadden. Time under the Speedy Trial Act is
                  tolled from 5/4/2021 to 7/2/2021, in the interests of justice. Bond Status of
                  Defendants: Personal Recognizance. Defense Attorneys: (1): Carlos J. Vanegas, (2):
                  Edson Bostic; US Attorney: Brittany L. Reed; Court Reporter: Lisa Edwards. (hmc)
                  Modified on 5/4/2021 (hmc). (Entered: 05/04/2021)
07/02/2021        Minute Entry for proceedings held before Judge Trevor N. McFadden: Status
                  Conference as to KEVIN SEEFRIED (1) and HUNTER SEEFRIED (2) held via
                  videoconference on 7/2/2021. A further VTC Status Conference is set for 8/3/2021 at
                  2:00 PM before Judge Trevor N. McFadden. Time under the Speedy Trial Act is not
                  tolled. Bond Status of Defendants: Personal Recognizance. Defense Attorneys: (1):
                  Carlos J. Vanegas, (2): Edson Bostic; US Attorney: Robert Juman (stand−in for
                  Brittany L. Reed); Court Reporter: Crystal Pilgrim. (hmc) (Entered: 07/02/2021)
08/03/2021        Minute Entry for proceedings held before Judge Trevor N. McFadden: Status
                  Conference as to KEVIN SEEFRIED (1) and HUNTER SEEFRIED (2) held via
                  videoconference on 8/3/2021. Motion to Suppress, Motion in Limine, and expert
                  notices due by 10/12/2021. Oppositions due by 11/2/2021. Replies due by
                  11/23/2021. Joint Proposed Voir Dire and Joint Proposed Jury Instructions due by
                  11/23/2021. Motion Hearing and Pretrial Conference set for 11/30/2021 at 10:00 AM
                  in Courtroom 2− In Person before Judge Trevor N. McFadden. Jury Selection set for
                  12/7/2021 at 9:00 AM in Ceremonial Courtroom before Judge Trevor N. McFadden.
                  Jury Trial set for 12/7/2021 at 9:00 AM in Courtroom 2− In Person before Judge
                  Trevor N. McFadden. A further VTC Status Conference is set for 9/24/2021 at 10:00
                  AM before Judge Trevor N. McFadden. Time under the Speedy Trial Act is tolled
                  from 8/3/2021 to 9/24/2021, in the interest of justice. Bond Status of Defendants:
                  Personal Recognizance. Defense Attorneys: (1): Carlos J. Vanegas, (2): Edson Bostic;
                  US Attorney: Brittany L. Reed; Court Reporter: Crystal Pilgrim.(hmc) (Entered:
                  08/03/2021)
09/23/2021   32   MOTION to Continue UNITED STATES UNOPPOSED MOTION TO CONTINUE
                  STATUS CONFERENCE AND TO EXCLUDE TIME UNDER THE SPEEDY TRIAL
                  ACT by USA as to KEVIN SEEFRIED, HUNTER SEEFRIED. (Attachments: # 1
                  Text of Proposed Order)(Reed, Brittany) (Entered: 09/23/2021)
09/23/2021        MINUTE ORDER as to KEVIN SEEFRIED (1) and HUNTER SEEFRIED (2)
                  granting the government's 32 Motion to Continue. The status conference currently
                  scheduled for 9/24/2021 is hereby rescheduled for 10/26/2021 at 3:30 p.m. via
                  videoconference before Judge Trevor N. McFadden. Time under the Speedy Trial Act
                  is tolled from 9/24/2021 to 10/26/2021, in the interests of justice and for the reasons
                  described in the government's unopposed motion. SO ORDERED. Signed by Judge
                  Trevor N. McFadden on 9/23/2021. (lctnm3) Modified on 9/24/2021 to add
                  defendants' names (hmc). (Entered: 09/23/2021)
09/23/2021   34   MOTION TO EXCLUDE TIME UNDER THE SPEEDY TRIAL ACT by USA as to


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    Case 1:21-cr-00287-TNM Document 145 Filed 02/22/23 Page 7 of 26



                  KEVIN SEEFRIED, HUNTER SEEFRIED. (See docket entry 32 to view document.)
                  (zltp) (Entered: 09/27/2021)
09/24/2021        Set/Reset Hearings as to KEVIN SEEFRIED (1), HUNTER SEEFRIED (2): VTC
                  Status Conference rescheduled to 10/26/2021 at 3:30 PM before Judge Trevor N.
                  McFadden. (hmc) (Entered: 09/24/2021)
10/12/2021   37   MOTION to Dismiss Count One of the Indictment by KEVIN SEEFRIED.
                  (Attachments: # 1 Text of Proposed Order)(Vanegas, Carlos) (Entered: 10/12/2021)
10/19/2021   38   NOTICE OF FILING OF DISCOVERY MEMORANDA by USA as to KEVIN
                  SEEFRIED, HUNTER SEEFRIED (Attachments: # 1 Memorandum in Support, # 2
                  Exhibit, # 3 Memorandum in Support, # 4 Memorandum in Support)(Reed, Brittany)
                  (Entered: 10/19/2021)
10/20/2021   39   Joint MOTION to Vacate Trial Date and Exclude Time Under the Speedy Trial Act
                  by USA as to KEVIN SEEFRIED, HUNTER SEEFRIED. (Reed, Brittany) Modified
                  text on 10/21/2021 (zltp). (Entered: 10/20/2021)
10/20/2021   40   MOTION to Exclude Time Under the Speedy Trial Act by USA as to KEVIN
                  SEEFRIED, HUNTER SEEFRIED. (See docket entry 39 to view document.) (zltp)
                  (Entered: 10/21/2021)
10/25/2021   43   NOTICE Notice of Filing by USA as to KEVIN SEEFRIED, HUNTER SEEFRIED
                  (Attachments: # 1 Exhibit)(Reed, Brittany) (Entered: 10/25/2021)
10/26/2021        Minute Entry for proceedings held before Judge Trevor N. McFadden: Status
                  Conference as to KEVIN SEEFRIED (1), HUNTER SEEFRIED (2) held via
                  videoconference on 10/26/2021. 39 Joint Motion to Vacate Trial Date and 40 Joint
                  Motion to Exclude Time Under the Speedy Trial Act, GRANTED. The currently
                  scheduled Jury Selection/Trial, Pretrial Conference, and trial briefing schedule are all
                  hereby VACATED. Pretrial Conference and Motion Hearing set for 5/20/2022 at
                  10:00 AM in Courtroom 2− In Person before Judge Trevor N. McFadden. Jury
                  Selection/Jury Trial set for 6/13/2022 at 9:00 AM in Courtroom 2− In Person before
                  Judge Trevor N. McFadden. VTC Status Conference set for 12/17/2021 at 10:00 AM
                  before Judge Trevor N. McFadden. Time under the Speedy Trial Act is tolled from
                  10/26/2021 to 12/17/2021, in the interests of justice. The Government will respond to
                  the Defendants' Motion to Dismiss Count One of The Indictment by 11/2/2021.
                  Defendants' reply due by 11/9/2021. Bond Status of Defendants: Personal
                  Recognizance. Defense Attorneys: (1): Carlos J. Vanegas, (2): Edson Bostic; US
                  Attorney: Brittany L. Reed; Court Reporter: Lisa Edwards. (hmc) (Entered:
                  10/27/2021)
11/02/2021   44   Memorandum in Opposition by USA as to KEVIN SEEFRIED, HUNTER
                  SEEFRIED re 37 MOTION to Dismiss Count One of the Indictment, 36 MOTION to
                  Dismiss Count One of The Indictment (Reed, Brittany) (Entered: 11/02/2021)
12/17/2021        Minute Entry for proceedings held before Judge Trevor N. McFadden: Status
                  Conference as to KEVIN SEEFRIED (1), HUNTER SEEFRIED (2) held via
                  videoconference on 12/17/2022. Motions in Limine, Motions to Suppress, Motions to
                  Dismiss due by 4/8/2022, Oppositions due by 4/29/2022, Replies due by 5/13/2022.
                  Joint Proposed Voir Dire and Joint Proposed Final Jury Instructions due by
                  5/13/2022. A further VTC Status Conference is set for 2/18/2022 at 2:00 PM before
                  Judge Trevor N. McFadden. Speedy Trial Excludable (XT) started 12/17/2021
                  through 2/18/2022, in the interest of justice. Bond Status of Defendants: Personal


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    Case 1:21-cr-00287-TNM Document 145 Filed 02/22/23 Page 8 of 26



                  Recognizance. Defense Attorneys: (1): Carlos Vanegas and (2): Edson Bostic; US
                  Attorney: Brittany L. Reed; Court Reporter: Lisa Bankins. (hmc) (Entered:
                  12/17/2021)
01/05/2022   47   NOTICE OF SUBSTITUTION OF COUNSEL Attorney Ohm, Eugene added. (Ohm,
                  Eugene) (Entered: 01/05/2022)
01/24/2022   48   NOTICE of Filing by KEVIN SEEFRIED (Ohm, Eugene) (Entered: 01/24/2022)
02/16/2022   50   NOTICE OF FILING by USA as to KEVIN SEEFRIED, HUNTER SEEFRIED
                  (Attachments: # 1 Memorandum in Support, # 2 Memorandum in Support)(Reed,
                  Brittany) (Entered: 02/16/2022)
02/16/2022   51   NOTICE OF FILING OF UNITED STATES MEMORANDUM REGARDING
                  STATUS OF DISCOVERY AS OF FEBRUARY 9, 2022 by USA as to KEVIN
                  SEEFRIED, HUNTER SEEFRIED (Reed, Brittany) (Entered: 02/16/2022)
02/18/2022        Minute Entry for proceedings held before Judge Trevor N. McFadden: Status
                  Conference as to KEVIN SEEFRIED (1), HUNTER SEEFRIED (2) held via
                  videoconference on 2/18/2022. A further VTC Status Conference is set for 4/8/2022
                  at 2:00 PM before Judge Trevor N. McFadden. Bond Status of Defendants: Personal
                  Recognizance. Defense Attorneys: (1): Eugene Ohm, (2): Edson Bostic; US Attorney:
                  Brittany L. Reed; Court Reporter: Lisa Bankins. (hmc) (Entered: 02/18/2022)
03/14/2022        MINUTE ORDER as to KEVIN SEEFRIED (1) and HUNTER SEEFRIED (2)
                  denying without prejudice Defendants' 36 and 37 Motions to Dismiss. If Defendants
                  wish to refile their motions, they should adhere to the briefing schedule set in the
                  Court's Dec. 17, 2021, Minute Entry. The parties' briefing should engage with recent
                  relevant decisions in this District, including United States v. Sandlin, No. 21−CR−88
                  (DLF), 2021 WL 5865006 (D.D.C. Dec. 10, 2021); United States v. Montgomery, No.
                  21−CR−46 (RDM), 2021 WL 6134591 (D.D.C. Dec. 28, 2021); and United States v.
                  Miller, 21−CR−00119 (CJN). SO ORDERED. Signed by Judge Trevor N. McFadden
                  on 3/14/2022. (lctnm3) (Entered: 03/14/2022)
04/07/2022   54   NOTICE OF ATTORNEY APPEARANCE Benet Kearney appearing for USA.
                  (Kearney, Benet) (Entered: 04/07/2022)
04/08/2022   56   MOTION in Limine REGARDING AUTHENTICATION OF CERTAIN VIDEO
                  EVIDENCE by USA as to KEVIN SEEFRIED, HUNTER SEEFRIED. (Attachments:
                  # 1 Text of Proposed Order)(Reed, Brittany) (Entered: 04/08/2022)
04/08/2022        Minute Entry for proceedings held before Judge Trevor N. McFadden: Status
                  Conference as to KEVIN SEEFRIED (1), HUNTER SEEFRIED (2) held via
                  videoconference on 4/8/2022. VTC Plea Agreement Hearing as to HUNTER
                  SEEFRIED (2) set for 4/27/2022 at 2:00 PM before Judge Trevor N. McFadden.
                  Original plea paperwork due by 4/25/2022. Defendant HUNTER SEEFRIED'S (2)
                  oral motion to join his co−defendant's motion regarding the Speedy Trial Act
                  calculation, heard and granted. Bond Status of Defendants: Personal Recognizance.
                  Defense Attorneys: (1): Eugene Ohm, (2): Edson Bostic; US Attorneys: Brittany L.
                  Reed, Benet Kearney; Court Reporter: Sara Wick. (hmc) (Entered: 04/08/2022)
04/08/2022   57   MOTION in Limine REGARDING CROSS−EXAMINATION OF U.S. SECRET
                  SERVICE WITNESS by USA as to KEVIN SEEFRIED, HUNTER SEEFRIED.
                  (Attachments: # 1 Text of Proposed Order)(Reed, Brittany) (Entered: 04/08/2022)
04/08/2022   58

                                                                                                          8
    Case 1:21-cr-00287-TNM Document 145 Filed 02/22/23 Page 9 of 26



                  MOTION in Limine REGARDING EVIDENCE ABOUT THE SPECIFIC
                  LOCATIONS OF U.S. CAPITOL POLICE SURVEILLANCE CAMERAS by USA as to
                  KEVIN SEEFRIED, HUNTER SEEFRIED. (Attachments: # 1 Text of Proposed
                  Order, # 2 Declaration)(Reed, Brittany) (Entered: 04/08/2022)
04/08/2022   59   MOTION to Dismiss Count 1, 2 and 3 by KEVIN SEEFRIED. (Attachments: # 1
                  Text of Proposed Order)(Ohm, Eugene) (Entered: 04/08/2022)
04/08/2022   60   MOTION to Dismiss on Speedy Trial by KEVIN SEEFRIED. (Attachments: # 1 Text
                  of Proposed Order)(Ohm, Eugene) (Entered: 04/08/2022)
04/27/2022   67   SUPERSEDING INDICTMENT as to KEVIN SEEFRIED (1) count(s) 1s, 2s, 3s, 4s,
                  5s, HUNTER SEEFRIED (2) count(s) 1s, 2s, 3s, 4s, 5s, 6s, 7s, 8s. (zltp) (Entered:
                  04/28/2022)
04/29/2022   69   RESPONSE by USA as to KEVIN SEEFRIED, HUNTER SEEFRIED re 60
                  MOTION to Dismiss on Speedy Trial GOVERNMENTS OPPOSITION TO
                  DEFENDANT, KEVIN SEEFRIEDS, MOTION TO DISMISS INDICTMENT FOR
                  VIOLATION OF THE SPEEDY TRIAL ACT (Reed, Brittany) (Entered: 04/29/2022)
04/29/2022   70   Memorandum in Opposition by USA as to KEVIN SEEFRIED, HUNTER
                  SEEFRIED re 61 MOTION to Dismiss Count One of the Indictment and Supporting
                  Memorandum of Law GOVERNMENTS OPPOSITION TO DEFENDANTS
                  MOTIONS TO DISMISS COUNT ONE OF THE INDICTMENT AND DEFENDANT
                  KEVIN SEEFRIEDS MOTION TO DISMISS COUNTS TWO AND THREE OF THE
                  INDICTMENT (Reed, Brittany) (Entered: 04/29/2022)
05/03/2022   71   SUPPLEMENT by USA as to KEVIN SEEFRIED, HUNTER SEEFRIED re 70
                  Memorandum in Opposition, SUPPLEMENTAL AUTHORITY MEMORANDUM
                  OPINION (Reed, Brittany) (Entered: 05/03/2022)
05/19/2022        MINUTE ORDER granting 72 Motion for Leave to File as to HUNTER SEEFRIED
                  (2). The Clerk of the Court shall docket Exhibit A as Hunter Seefried's Amended
                  Notice of Joining Co−Defendant's Motion to Dismiss Indictment for Violation of the
                  Speedy Trial Act. SO ORDERED. Signed by Judge Trevor N. McFadden on 5/19/22.
                  (lctnm3) (Entered: 05/19/2022)
05/19/2022   75   NOTICE of Request for Bill of Particulars by KEVIN SEEFRIED (Ohm, Eugene)
                  (Entered: 05/19/2022)
05/19/2022   76   Amended NOTICE of Joining Co−Defendant's Motion to Dismiss Indictment by
                  HUNTER SEEFRIED as to KEVIN SEEFRIED, HUNTER SEEFRIED re 60
                  MOTION to Dismiss on Speedy Trial (zltp) (Entered: 05/24/2022)
05/20/2022        Minute Entry for proceedings held before Judge Trevor N. McFadden: Pretrial
                  Conference as to KEVIN SEEFRIED (1), HUNTER SEEFRIED (2) held on
                  5/20/2022. Defendants arraigned on the Superseding Indictment. Defendants entered a
                  plea of Not Guilty as to all counts. Government's 56 , 57 , 58 Motions In Limine,
                  GRANTED. KEVIN SEEFRIED'S (1) Motion to Dismiss Counts 1, 2 and 3,
                  DENIED. HUNTER SEEFRIED'S (2) Motion to Dismiss Count 1, DENIED.
                  Defendants' 60 Motion to Dismiss on Speedy Trial, DENIED. Defendant's waived a
                  trial by jury. Trials briefs due by 6/8/2022. Bench Trial set for 6/13/2022 at 9:30 AM
                  in Courtroom 2− In Person before Judge Trevor N. McFadden. Time tolled under the
                  Speedy Trial Act from 5/20/2022 through 6/13/2022, in the interests of justice. Bond
                  Status of Defendants: Personal Recognizance. Defense Attorneys: (1): Eugene Ohm,


                                                                                                           9
    Case 1:21-cr-00287-TNM Document 145 Filed 02/22/23 Page 10 of 26



                  (2): Edson Bostic; US Attorneys: Brittany L. Reed, Benet Kearney; Court Reporter:
                  Lisa Edwards. (hmc) (Entered: 05/21/2022)
05/20/2022   96   WAIVER of Trial by Jury as to KEVIN SEEFRIED (1). Approved by Judge Trevor
                  N. McFadden on 5/20/2022. (hmc) (Entered: 06/15/2022)
06/01/2022   77   NOTICE of Filing by KEVIN SEEFRIED (Ohm, Eugene) (Entered: 06/01/2022)
06/05/2022   78   MOTION to Compel by KEVIN SEEFRIED. (Attachments: # 1 Text of Proposed
                  Order)(Ohm, Eugene) (Entered: 06/05/2022)
06/05/2022   79   MOTION in Limine by KEVIN SEEFRIED. (Attachments: # 1 Text of Proposed
                  Order)(Ohm, Eugene) (Entered: 06/05/2022)
06/06/2022   83   NOTICE OF ATTORNEY APPEARANCE: Elizabeth Ann Mullin appearing for
                  KEVIN SEEFRIED as Co−Counsel (Mullin, Elizabeth) (Entered: 06/06/2022)
06/06/2022        MINUTE ORDER as to KEVIN SEEFRIED (1) and HUNTER SEEFRIED (2)
                  denying the 79 Motion in Limine. The deadline for motions in limine was April 8,
                  2022. See 12/17/2022 Min. Order. SO ORDERED. Signed by Judge Trevor N.
                  McFadden on 6/6/2022. (lctnm3) (Entered: 06/06/2022)
06/06/2022        MINUTE ORDER as to KEVIN SEEFRIED (1) and HUNTER SEEFRIED (2). The
                  Government is hereby ORDERED to respond to the 78 Motion to Compel on or
                  before June 8, 2022. SO ORDERED. Signed by Judge Trevor N. McFadden on
                  6/6/2022. (lctnm3) (Entered: 06/06/2022)
06/07/2022   84   MOTION for Leave to File ECF No. 79 by KEVIN SEEFRIED. (Attachments: # 1
                  Text of Proposed Order)(Ohm, Eugene) (Entered: 06/07/2022)
06/07/2022        MINUTE ORDER as to KEVIN SEEFRIED (1) and HUNTER SEEFRIED (2)
                  denying the 84 Motion for Leave to File. Count One of the Indictment charges Kevin
                  Seefried and Hunter Seefried with aiding and abetting Obstruction of an Official
                  Proceeding. This charge generally put the Defense on notice about the Government's
                  theory before the April 8, 2022, deadline for motions in limine. The recent
                  information the Government provided in response to a late request from Defense
                  regarding its theory is neither surprising nor highly particular such that Defense could
                  not have anticipated it. SO ORDERED. Signed by Judge Trevor N. McFadden on
                  6/7/2022. (lctnm3) (Entered: 06/07/2022)
06/08/2022   87   RESPONSE by USA as to KEVIN SEEFRIED, HUNTER SEEFRIED re 78
                  MOTION to Compel (Attachments: # 1 Exhibit June 2, 2022 letter)(Kearney, Benet)
                  (Entered: 06/08/2022)
06/08/2022   88   TRIAL BRIEF by USA as to KEVIN SEEFRIED, HUNTER SEEFRIED (Kearney,
                  Benet) (Entered: 06/08/2022)
06/09/2022   91   ORDER as to KEVIN SEEFRIED (1) and HUNTER SEEFRIED (2) denying the 78
                  Motion to Compel. See attached Order for details. Signed by Judge Trevor N.
                  McFadden on 6/9/2022. (lctnm3) (Entered: 06/09/2022)
06/13/2022        Minute Entry for proceedings held before Judge Trevor N. McFadden: Bench Trial as
                  to KEVIN SEEFRIED (1), HUNTER SEEFRIED (2) began and held on 6/13/2022.
                  Bench Trial continued to 6/14/2022 at 10:00 AM in Courtroom 2 before Judge Trevor
                  N. McFadden. Bond Status of Defendants: Personal Recognizance. Defense
                  Attorneys: (1): Eugene Ohm and Elizabeth A. Mullin, (2): Edson Bostic; US


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    Case 1:21-cr-00287-TNM Document 145 Filed 02/22/23 Page 11 of 26



                   Attorneys: Brittany L. Reed and Benet Kearney; Court Reporter: Lisa Edwards.
                   Government Witnesses: Thomas Loyd, Eugene Goodman, Brian Morgan, Joseph Lear
                   (testimony began and continued). (hmc) (Entered: 06/13/2022)
06/14/2022    93   NOTICE Memorandum of Law in Support of Closing Argument by KEVIN
                   SEEFRIED. (Mullin, Elizabeth) Modified on 6/15/2022 (hmc). (Entered: 06/14/2022)
06/14/2022         Minute Entry for proceedings held before Judge Trevor N. McFadden: Bench Trial as
                   to KEVIN SEEFRIED (1), HUNTER SEEFRIED (2) resumed on 6/14/2022. KEVIN
                   SEEFRIED'S (1) oral motion under Bruton Rule, heard and granted. Defendants' oral
                   motion for judgment of acquittal, heard and denied. Defendants' renewed oral motion
                   for judgment of acquittal, heard and denied. Bench Trial continued to 6/15/2022 at
                   3:00 PM in Courtroom 2 before Judge Trevor N. McFadden. Bond Status of
                   Defendants: Personal Recognizance. Defense Attorneys: (1): Eugene Ohm and
                   Elizabeth A. Mullin, (2): Edson Bostic; US Attorneys: Brittany L. Reed and Benet
                   Kearney; Court Reporter: Lisa Edwards. Government Witnesses: Joseph Lear
                   (testimony resumed and concluded), Ryan McCabe. Defense Witnesses: Brian Dinkel,
                   Brandon Kiley, Anastasia Cuff. (hmc) (Entered: 06/14/2022)
06/14/2022    94   Right to Testify by KEVIN SEEFRIED (1). (hmc) (Entered: 06/14/2022)
06/15/2022         Minute Entry for proceedings held before Judge Trevor N. McFadden: Bench Trial as
                   to KEVIN SEEFRIED (1), HUNTER SEEFRIED (2) resumed and concluded on
                   6/15/2022. Verdict of Guilty rendered by the Court as to KEVIN SEEFRIED (1) and
                   HUNTER SEEFRIED (2) on Counts 1s, 2s, 3s, 4s, 5s. Verdict of Not Guilty rendered
                   by the Court as to HUNTER SEEFRIED (2) on Counts 6s, 7s, 8s. Case referred to the
                   Probation Office for a Presentence Investigation. Sentencing Memoranda as to
                   KEVIN SEEFRIED (1) due by 9/9/2022; Sentencing as to KEVIN SEEFRIED (1) set
                   for 9/16/2022 at 2:00 PM in Courtroom 2 before Judge Trevor N. McFadden.
                   Sentencing Memoranda as to HUNTER SEEFRIED (2) due by 9/16/2022; Sentencing
                   as to HUNTER SEEFRIED (2) set for 9/23/2022 at 2:00 PM in Courtroom 2 before
                   Judge Trevor N. McFadden. Bond Status of Defendants: Personal Recognizance.
                   Defense Attorneys: (1): Eugene Ohm and Elizabeth A. Mullin, (2): Edson Bostic; US
                   Attorneys: Brittany L. Reed and Benet Kearney; Court Reporter: Nancy Meyer. (hmc)
                   (Entered: 06/15/2022)
06/15/2022    98   EXHIBIT LIST by USA as to KEVIN SEEFRIED (1), HUNTER SEEFRIED (2).
                   (hmc) (Entered: 06/15/2022)
06/15/2022    99   EXHIBIT LIST by KEVIN SEEFRIED (1). (hmc) (Entered: 06/15/2022)
06/15/2022   100   ATTORNEYS' ACKNOWLEDGMENT OF TRIAL EXHIBITS as to KEVIN
                   SEEFRIED (1), HUNTER SEEFRIED (2). (hmc) (Entered: 06/15/2022)
06/15/2022   102   LETTER to Clarify Timing of Video footage in Government Exhibit by USA as to
                   KEVIN SEEFRIED, HUNTER SEEFRIED "Fiat" by Judge Trevor N. McFadden on
                   6/15/2022.(zltp) (Entered: 06/24/2022)
06/15/2022   103   RESPONSE by KEVIN SEEFRIED re 102 Letter to Clarify Timing of Video footage
                   in Government Exhibit. "Fiat" by Judge Trevor N. McFadden on 6/15/2022. (zltp)
                   (Entered: 06/24/2022)
06/16/2022   101   ENTERED IN ERROR.....TRANSCRIPT OF TESTIMONY OF EUGENE
                   GOODMAN EXCERPTED FROM THE BENCH TRIAL in case as to KEVIN
                   SEEFRIED, HUNTER SEEFRIED before Judge Trevor N. McFadden held on June


                                                                                                         11
    Case 1:21-cr-00287-TNM Document 145 Filed 02/22/23 Page 12 of 26



                   13, 2022; Page Numbers: 1−133. Date of Issuance: June 16, 2022. Court
                   Reporter/Transcriber Lisa Edwards. Telephone number (202) 354−3269. Transcripts
                   may be ordered by submitting the Transcript Order Form

                   For the first 90 days after this filing date, the transcript may be viewed at the
                   courthouse at a public terminal or purchased from the court reporter referenced above.
                   After 90 days, the transcript may be accessed via PACER. Other transcript formats,
                   (multi−page, condensed, CD or ASCII) may be purchased from the court reporter.

                   NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one
                   days to file with the court and the court reporter any request to redact personal
                   identifiers from this transcript. If no such requests are filed, the transcript will be
                   made available to the public via PACER without redaction after 90 days. The policy,
                   which includes the five personal identifiers specifically covered, is located on our
                   website at www.dcd.uscourts.gov.

                   Redaction Request due 7/7/2022. Redacted Transcript Deadline set for 7/17/2022.
                   Release of Transcript Restriction set for 9/14/2022.(zlfe) Modified on 6/17/2022
                   (zltp). (Entered: 06/16/2022)
06/16/2022         NOTICE OF ERROR as to KEVIN SEEFRIED, HUNTER SEEFRIED regarding 101
                   Transcript. The following error(s) need correction: Incorrect filing in case. (zltp)
                   (Entered: 06/17/2022)
07/06/2022         NOTICE OF RESCHEDULED HEARING as to KEVIN SEEFRIED (1). The
                   sentencing set for 9/16/2022 is rescheduled from 2:00 PM to 3:00 PM in Courtroom 2
                   before Judge Trevor N. McFadden. (hmc) (Entered: 07/06/2022)
07/15/2022   104   CORRECT TRANSCRIPT OF TESTIMONY OF EUGENE GOODMAN
                   EXCERPTED FROM THE BENCH TRIAL in case as to KEVIN SEEFRIED,
                   HUNTER SEEFRIED before Judge Trevor N. McFadden held on June 13, 2022; Page
                   Numbers: 1−133. Date of Issuance: July 15, 2022. Court Reporter/Transcriber Lisa
                   Edwards. Telephone number (202) 354−3269. Transcripts may be ordered by
                   submitting the Transcript Order Form

                   For the first 90 days after this filing date, the transcript m ay be viewed at the
                   courthouse at a public terminal or purchased from the court reporter referenced above.
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                   (multi−page, condensed, CD or ASCII) may be purchased from the court reporter.

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                   days to file with the court and the court reporter any request to redact personal
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                   made available to the public via PACER without redaction after 90 days. The policy,
                   which includes the five personal identifiers specifically covered, is located on our
                   website at www.dcd.uscourts.gov.

                   Redaction Request due 8/5/2022. Redacted Transcript Deadline set for 8/15/2022.
                   Release of Transcript Restriction set for 10/13/2022.(zlfe) (Entered: 07/15/2022)
07/15/2022   105   TRANSCRIPT OF BENCH TRIAL in case as to KEVIN SEEFRIED, HUNTER
                   SEEFRIED before Judge Trevor N. McFadden held on June 13, 2022; Page Numbers:
                   1−259. Date of Issuance: July 15, 2022. Court Reporter/Transcriber Lisa Edwards.


                                                                                                             12
    Case 1:21-cr-00287-TNM Document 145 Filed 02/22/23 Page 13 of 26



                   Telephone number (202) 354−3269. Transcripts may be ordered by submitting the
                   Transcript Order Form

                   For the first 90 days after this filing date, the transcript may be viewed at the
                   courthouse at a public terminal or purchased from the court reporter referenced above.
                   After 90 days, the transcript may be accessed via PACER. Other transcript formats,
                   (multi−page, condensed, CD or ASCII) may be purchased from the court reporter.

                   NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one
                   days to file with the court and the court reporter any request to redact personal
                   identifiers from this transcript. If no such requests are filed, the transcript will be
                   made available to the public via PACER without redaction after 90 days. The policy,
                   which includes the five personal identifiers specifically covered, is located on our
                   website at www.dcd.uscourts.gov.

                   Redaction Request due 8/5/2022. Redacted Transcript Deadline set for 8/15/2022.
                   Release of Transcript Restriction set for 10/13/2022.(zlfe) (Entered: 07/15/2022)
07/15/2022   106   TRANSCRIPT OF BENCH TRIAL in case as to KEVIN SEEFRIED, HUNTER
                   SEEFRIED before Judge Trevor N. McFadden held on June 14, 2022; Page Numbers:
                   1−304. Date of Issuance: July 15, 2022. Court Reporter/Transcriber Lisa Edwards.
                   Telephone number (202) 354−3269. Transcripts may be ordered by submitting the
                   Transcript Order Form

                   For the first 90 days after this filing date, the transcript may be viewed at the
                   courthouse at a public terminal or purchased from the court reporter referenced above.
                   After 90 days, the transcript may be accessed via PACER. Other transcript formats,
                   (multi−page, condensed, CD or ASCII) may be purchased from the court reporter.

                   NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one
                   days to file with the court and the court reporter any request to redact personal
                   identifiers from this transcript. If no such requests are filed, the transcript will be
                   made available to the public via PACER without redaction after 90 days. The policy,
                   which includes the five personal identifiers specifically covered, is located on our
                   website at www.dcd.uscourts.gov.

                   Redaction Request due 8/5/2022. Redacted Transcript Deadline set for 8/15/2022.
                   Release of Transcript Restriction set for 10/13/2022.(zlfe) (Entered: 07/15/2022)
08/05/2022         NOTICE OF RESCHEDULED HEARING as to KEVIN SEEFRIED (1). The
                   Sentencing currently set for 9/16/2022 is rescheduled to 1/20/2023 at 2:00 PM in
                   Courtroom 2− In Person before Judge Trevor N. McFadden. Sentencing memoranda
                   due by 1/13/2023. (hmc) (Entered: 08/05/2022)
09/01/2022   109   TRANSCRIPT OF BENCH TRIAL VERDICT in the case as to KEVIN SEEFRIED,
                   HUNTER SEEFRIED before the Honorable Trevor N. McFadden held on
                   06/15/2022. Page Numbers: 1−20. Date of Issuance: 09/01/2022. Stenographic Court
                   Reporter: Nancy J. Meyer. Telephone Number: 202−354−3118. Transcripts may be
                   ordered by going to www.dcd.uscourts.gov. For the first 90 days after this filing date,
                   the transcript may be viewed at the courthouse at a public terminal or purchased from
                   the court reporter referenced above. After 90 days, the transcript may be accessed via
                   PACER. Other transcript formats, (multi−page, condensed, CD or ASCII) may be
                   purchased from the court reporter.

                                                                                                             13
    Case 1:21-cr-00287-TNM Document 145 Filed 02/22/23 Page 14 of 26



                   NOTICE RE REDACTION OF TRANSCRIPTS: The parties have 21 days to file
                   with the court and the court reporter any request to redact personal identifiers from
                   this transcript. If no such requests are filed, the transcript will be made available to the
                   public via PACER without redaction after 90 days. The policy, which includes the
                   five personal identifiers specifically covered, is located on our website at
                   www.dcd.uscourts.gov.

                   Redaction Request due 9/22/2022. Redacted Transcript Deadline set for 10/2/2022.
                   Release of Transcript Restriction set for 11/30/2022.(Meyer, Nancy) (Entered:
                   09/01/2022)
09/12/2022   110   TRANSCRIPT OF BENCH TRIAL in case as to KEVIN SEEFRIED, HUNTER
                   SEEFRIED before Judge Trevor N. McFadden held on June 13, 2022; Page Numbers:
                   1−290. Date of Issuance: September 12, 2022. Court Reporter/Transcriber Lisa
                   Edwards. Telephone number (202) 354−3269. Transcripts may be ordered by
                   submitting the Transcript Order Form

                   For the first 90 days after this filing date, the transcript may be viewed at the
                   courthouse at a public termin al or purchased from the court reporter referenced
                   above. After 90 days, the transcript may be accessed via PACER. Other transcript
                   formats, (multi−page, condensed, CD or ASCII) may be purchased from the court
                   reporter.

                   NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one
                   days to file with the court and the court reporter any request to redact personal
                   identifiers from this transcript. If no such requests are filed, the transcript will be
                   made available to the public via PACER without redaction after 90 days. The policy,
                   which includes the five personal identifiers specifically covered, is located on our
                   website at www.dcd.uscourts.gov.

                   Redaction Request due 10/3/2022. Redacted Transcript Deadline set for 10/13/2022.
                   Release of Transcript Restriction set for 12/11/2022.(zlfe) (Entered: 09/12/2022)
09/12/2022   111   TRANSCRIPT OF BENCH TRIAL in case as to KEVIN SEEFRIED, HUNTER
                   SEEFRIED before Judge Trevor N. McFadden held on June 14, 2022; Page Numbers:
                   1−304. Date of Issuance: September 12, 2022. Court Reporter/Transcriber Lisa
                   Edwards. Telephone number (202) 354−3269. Transcripts may be ordered by
                   submitting the Transcript Order Form

                   For the first 90 days after this filing date, the transcript may be viewed at the
                   courthouse at a public termin al or purchased from the court reporter referenced
                   above. After 90 days, the transcript may be accessed via PACER. Other transcript
                   formats, (multi−page, condensed, CD or ASCII) may be purchased from the court
                   reporter.

                   NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one
                   days to file with the court and the court reporter any request to redact personal
                   identifiers from this transcript. If no such requests are filed, the transcript will be
                   made available to the public via PACER without redaction after 90 days. The policy,
                   which includes the five personal identifiers specifically covered, is located on our
                   website at www.dcd.uscourts.gov.



                                                                                                                  14
    Case 1:21-cr-00287-TNM Document 145 Filed 02/22/23 Page 15 of 26



                   Redaction Request due 10/3/2022. Redacted Transcript Deadline set for 10/13/2022.
                   Release of Transcript Restriction set for 12/11/2022.(zlfe) (Entered: 09/12/2022)
10/19/2022   118   Unopposed MOTION to Travel by KEVIN SEEFRIED. (Attachments: # 1 Text of
                   Proposed Order)(Ohm, Eugene) (Entered: 10/19/2022)
10/19/2022         MINUTE ORDER granting the 118 Unopposed Motion to Travel by Kevin Seefried
                   (1). Kevin Seefried may travel to the District of Columbia on October 24, 2022 for his
                   son's sentencing hearing. The Court hereby directs Mr. Kevin Seefried to provide the
                   Pretrial Services Agency his itinerary for the trip and his location(s) during that trip.
                   SO ORDERED. Signed by Judge Trevor N. McFadden on 10/19/2022. (lctnm3)
                   (Entered: 10/19/2022)
12/16/2022         NOTICE OF RESCHEDULED HEARING as to KEVIN SEEFRIED (1). The parties
                   shall take notice that the Sentencing previously set for 1/20/2023 is RESCHEDULED
                   to 1/11/2023 at 2:00 PM in Courtroom 2− In Person before Judge Trevor N.
                   McFadden. Sentencing memoranda is due by 1/4/2023. (hmc) (Entered: 12/16/2022)
12/21/2022   131   Unopposed MOTION to Continue Sentencing Hearing by KEVIN SEEFRIED.
                   (Attachments: # 1 Text of Proposed Order)(Mullin, Elizabeth) (Entered: 12/21/2022)
12/21/2022         MINUTE ORDER granting the 131 Unopposed Motion to Continue Sentencing
                   Hearing as to KEVIN SEEFRIED (1). The Sentencing previously scheduled for
                   January 11, 2023 is RESCHEDULED to February 9, 2023 at 2:00 PM in Courtroom 2
                   before Judge Trevor N. McFadden. Memoranda in aid of sentencing due by February
                   2, 2023. SO ORDERED. Signed by Judge Trevor N. McFadden on 12/21/2022.
                   (lctnm3) (Entered: 12/21/2022)
12/22/2022         Set/Reset Deadlines/Hearings as to KEVIN SEEFRIED (1): Sentencing Memoranda
                   due by 2/2/2023. Sentencing rescheduled to 2/9/2023 at 2:00 PM in Courtroom 2− In
                   Person before Judge Trevor N. McFadden. (hmc) (Entered: 12/22/2022)
01/03/2023   132   OBJECTION TO REPORT AND RECOMMENDATIONS 130 by KEVIN
                   SEEFRIED (Attachments: # 1 Supplement)(Mullin, Elizabeth) (Entered: 01/03/2023)
01/05/2023         NOTICE OF RESCHEDULED HEARING (time change) as to KEVIN SEEFRIED
                   (1). The parties shall take notice that the Sentencing set for 2/9/2023 is rescheduled
                   from 2:00 PM to 1:00 PM in Courtroom 2 before Judge Trevor N. McFadden. (hmc)
                   (Entered: 01/05/2023)
02/02/2023   135   SENTENCING MEMORANDUM by USA as to KEVIN SEEFRIED (Attachments:
                   # 1 Exhibit Exhibits A−C, # 2 Attachment)(Reed, Brittany) (Entered: 02/02/2023)
02/02/2023   136   SENTENCING MEMORANDUM by KEVIN SEEFRIED (Attachments: # 1 Exhibit,
                   # 2 Exhibit)(Mullin, Elizabeth) (Entered: 02/02/2023)
02/08/2023   139   SUPPLEMENT by KEVIN SEEFRIED re 136 Sentencing Memorandum (Mullin,
                   Elizabeth) (Entered: 02/08/2023)
02/09/2023         Minute Entry for proceedings held before Judge Trevor N. McFadden: Sentencing
                   held on 2/9/2023 as to KEVIN SEEFRIED (1). Defendant sentenced to a term of
                   Thirty−Six (36) Months of Incarceration on Count 1s, a term of Twelve (12) Months
                   on Counts 2s and 3s each, a term of Six (6) Months on Counts 4s and 5s each, to run
                   concurrently, followed by a term of Twelve (12) Months of Supervised Release on
                   Counts 1s, 2s, 3s, to run concurrently. $100 Special Assessment imposed on Count 1s,
                   $25 Special Assessment imposed on Counts 2s and 3s, $10 Special Assessment


                                                                                                               15
    Case 1:21-cr-00287-TNM Document 145 Filed 02/22/23 Page 16 of 26



                   imposed on Counts 4s and 5s. Total Special Assessment of $170 imposed. Restitution
                   in the amount of $2,000.00. Oral motion by the Government to dismiss the underlying
                   indictment, heard and granted. Defendant's motion for release pending appeal due by
                   3/2/2023; government's opposition due by 3/16/2023; defendant's reply due be
                   3/23/2023. Bond Status of Defendant: Defendant remains on Personal Recognizance
                   and permitted to self−surrender. Defense Attorneys: Eugene Ohm, Elizabeth A.
                   Mullin; US Attorneys: Brittany L. Reed and Benet Kearney; Probation Officer:
                   Crystal Lustig; Court Reporter: Lisa Edwards. (hmc) (Entered: 02/09/2023)
02/10/2023   141   JUDGMENT as to KEVIN SEEFRIED. Statement of Reasons Not Included. Signed
                   by Judge Trevor N. McFadden on 2/10/2023. (zltp) (Main Document 141 replaced on
                   2/21/2023) (zhmc). (Entered: 02/10/2023)
02/10/2023   142   STATEMENT OF REASONS as to KEVIN SEEFRIED. re 141 Judgment Access to
                   the PDF Document is restricted per Judicial Conference Policy. Access is limited to
                   Counsel of Record and the Court. Signed by Judge Trevor N. McFadden on
                   2/10/2023. (zltp) (Entered: 02/10/2023)
02/16/2023   143   TRANSCRIPT OF SENTENCING HEARING in case as to KEVIN SEEFRIED
                   before Judge Trevor N. McFadden held on February 9, 2023; Page Numbers: 1−55.
                   Date of Issuance: February 16, 2023. Court Reporter/Transcriber Lisa Edwards.
                   Telephone number (202) 354−3269. Transcripts may be ordered by submitting the
                   Transcript Order Form

                   For the first 90 days after this filing date, the transcript may be viewed at the
                   courthouse at a public terminal or purchased from the court reporter referenced above.
                   After 90 days, the transcript may be accessed via PACER. Other transcript formats,
                   (multi−page, condensed, CD or ASCII) may be purchased from the court reporter.

                   NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one
                   days to file with the court and the court reporter any request to redact personal
                   identifiers from this transcript. If no such requests are filed, the transcript will be
                   made available to the public via PACER without redaction after 90 days. The policy,
                   which includes the five personal identifiers specifically covered, is located on our
                   website at www.dcd.uscourts.gov.

                   Redaction Request due 3/9/2023. Redacted Transcript Deadline set for 3/19/2023.
                   Release of Transcript Restriction set for 5/17/2023.(zlfe) (Entered: 02/16/2023)
02/17/2023   144   NOTICE OF APPEAL − Final Judgment by KEVIN SEEFRIED Fee Status: No Fee
                   Paid. Parties have been notified. (Mullin, Elizabeth) (Entered: 02/17/2023)




                                                                                                             16
       Case 1:21-cr-00287-TNM Document 145 Filed 02/22/23 Page 17 of 26



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                          :

                     vs.                           :      Case No.: 21-cr-00287 (TNM)

KEVIN SEEFRIED,                                    :

              Defendant.                           :

                                 NOTICE OF APPEAL

Name and address of appellant:                     Kevin Seefried

Name and address of appellant’s attorney:          Eugene Ohm
                                                   Elizabeth Mullin
                                                   Assistant Federal Public Defender
                                                   Office of the Federal Public Defender
                                                   625 Indiana Ave., N.W., Suite 550
                                                   Washington, DC 20004

Offense: 18 U.S.C. 1512(C)(2) And 2; Tampering With A Witness,Victim Or Informant;
Obstruction Of An Official Proceeding And Aiding And Abetting(1s); 18 U.S.C. 1752(A)(1);
Temporary Residence Of The President; Entering And Remaining In A Restricted Building Or
Grounds (2s); 18 U.S.C. 1752(A)(2); Temporary Residence Of The President; Disorderly And
Disruptive Conduct In A Restricted Building Or Grounds (3s); 40 U.S.C. 5104(E)(2)(D); Violent
Entry And Disorderly Conduct On Capitol Grounds; Disorderly Conduct In A Capitol Building
(4s); 40 U.S.C. 5104(E)(2)(G); Violent Entry And Disorderly Conduct On Capitol Grounds;
Parading, Demonstrating, Or Picketing In A Capitol Building (5s).

Concise statement of judgment or order, giving date, and any sentence: Sentencing held on
2/9/2023 as to Kevin Seefried, Defendant sentenced to a term of Thirty-Six (36) Months of
Incarceration on Count 1s, a term of Twelve (12) Months on Counts 2s and 3s each, a term of
Six (6) Months on Counts 4s and 5s each, to run concurrently, followed by a term of Twelve (12)
Months of Supervised Release on Counts 1s, 2s, 3s, to run concurrently. $100 Special
Assessment imposed on Count 1s, $25 Special Assessment imposed on Counts 2s and 3s, $10
Special Assessment imposed on Counts 4s and 5s. Total Special Assessment of $170 imposed.
Restitution in the amount of $2,000.00.
Name of institution where now confined, if not on bail: Personal Recognizance Bond

        I, the above-named appellant, hereby appeal to the United States Court of Appeals
for the District of Columbia from the above-stated judgment.




                                                                                                  17
       Case 1:21-cr-00287-TNM Document 145 Filed 02/22/23 Page 18 of 26



February 17, 2023                                     Kevin Seefried
DATE                                                  APPELLANT


CJA, NO FEE         FPD                               Eugene Ohm
                                                      Elizabeth Mullin
PAID USDC FEE        NO                               ASSISTANT FEDERAL PUBLIC DEFENDER
PAID USCA FEE        NO                               ATTORNEY FOR APPELLANT

Does counsel wish to appear on appeal? Yes
Has counsel ordered transcripts? No
Is this appeal pursuant to the 1984 Sentencing Reform Act? Yes




                                                                                      18
                       Case 1:21-cr-00287-TNM Document 145 Filed 02/22/23 Page 19 of 26
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet I



                                          UNITED STATES DISTRICT COURT
                                                               District of Columbia
                                                                           )
                UNITED STATES OF AMERICA
                                                                           )
                                                                                   JUDGMENT IN A CRIMINAL CASE
                           v.                                              )
                        KEVIN SEEFRIED                                     )
                                                                                    Case Number: 21-CR-287-1 (TNM)
                                                                           )
                                                                           )        USM Number: 25549-509
                                                                           )
                                                                           )         Eugene Jeen-Young Kim Ohm
                                                                           )        Defendant's Attorney
THE DEFENDANT:
D pleaded guilty to count(s)
D pleaded nolo contendere to count(s)
  which was accepted by the court.
li1 was found guilty on count(s)          1, 2, 3, 4, 5 of the Superseding Indictment filed on 4/27/2022
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                          Offense Ended               Count
18 USC§§ 1512(c)(2)                Obstruction of an Official Proceeding and Aiding and                       1/6/2021                       1s
and 2                              Abetting
18 USC§ 1752(a)(1)                 Entering and Remaining in a Restricted Building or Grounds                 1/6/2021                       2s

       The defendant is sentenced as provided in pages 2 through             8
                                                                           ----              of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
 Ill Count(s)     in underlying Indictment               Dis        Ill are dismissed on the motion of the United States.
          It is ordered that the defendant must notify the United States attorney for this district within 30 day of any change of name, residence,
 or mailing address unti I al I fines, restitution, costs, and special assessments imposed by thi judgment are fully paid. If ordered to pay restitution,
 the defenclant must notify the court and United States attorney of material changes in econom1c circumstances.
                                                                                                             2/9/2023
                                                                           Date of Imposition of Judgment



                                                                           Signntun.i ol' Judge


                                                                                             Trevor N. McFadden, U.S. District Judge
                                                                           Name and Title of Judge



                                                                           Date




                                                                                                                                                  19
Case 1:21-cr-00287-TNM Document 145 Filed 02/22/23 Page 20 of 26




                                                                   20
Case 1:21-cr-00287-TNM Document 145 Filed 02/22/23 Page 21 of 26




                                                                   21
Case 1:21-cr-00287-TNM Document 145 Filed 02/22/23 Page 22 of 26




                                                                   22
Case 1:21-cr-00287-TNM Document 145 Filed 02/22/23 Page 23 of 26




                                                                   23
Case 1:21-cr-00287-TNM Document 145 Filed 02/22/23 Page 24 of 26




                                                                   24
Case 1:21-cr-00287-TNM Document 145 Filed 02/22/23 Page 25 of 26




                                                                   25
Case 1:21-cr-00287-TNM Document 145 Filed 02/22/23 Page 26 of 26




                                                                   26
